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   8                        UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10   UNITED STATES OF AMERICA,                       Case No. 14cr0225-MMA-8
  11                       Plaintiff,                  PRELIMINARY ORDER OF
  12          v.                                       CRIMINAL FORFEITURE
  13   BILLY MINH TA (8),
  14                       Defendant.
  15
  16         WHEREAS, in the Superseding Indictment and Bill of Particulars in the
  17 above-captioned case, the United States sought forfeiture of all right, title and interest
  18 in specific properties of the above-named Defendant, BILLY MINH TA (8)
  19 ("Defendant"), pursuant to Title 21, United States Code, Section 853, as properties
  20 constituting, or derived from, any proceeds Defendant obtained directly or indirectly,
  21 as the result of the violations, as well as any properties used or intended to be used to
  22 facilitate the commission of, the violation of Title 21, United States Code, Sections
  23 841(a)(1) and 846; as well as all properties involved in the violation of Title 18,
  24 United States Code, Sections 922(g)(1) and 924(a)(2), and forfeitable pursuant to
  25 Title 18, United States Code, Section 924(d) and Title 28, United States Code,
  26 Section 2461(c), as charged in the Superseding Indictment; and
  27         WHEREAS, on or about October 8, 2015, Defendant pled guilty before
  28 Magistrate Judge Karen S. Crawford to Counts 1 and 5 of the Superseding
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   1 Indictment, which plea included consents to the forfeiture allegations of the
   2 Indictment, including forfeiture of the following:
   3        a.     a Smith & Wesson Model 4013 semi-automatic handgun with
                   serial number VBJ3320,
   4
            b.     a Springfield Arms Model XD-40 semi-automatic handgun with
   5                serial number XD566127,
   6        c.     $1,620.00 in U.S. Currency found on person of Billy Ta at time of
                   his arrest on February 5, 2014,
   7
            d.     $7,000.00 in U.S. Currency hidden under a carpet on the closet
   8               floor of Billy Minh Ta’s residence located at 5223 Quince Street,
                   San Diego CA,
   9
            e.     Trijicon Model SPR-1.5 La Rue Tactical Scope, found in a rifle
  10               box in the closet of Billy Minh Ta’s residence located at 5223
                   Quince Street, San Diego CA,
  11
            f.     Rifle Butt Stock found in a rifle box in the closet of Billy Minh
  12               Ta’s residence located at 5223 Quince Street, San Diego CA,
  13        g.     One Silver 2010 Audi S4, CA License 6NDH304, VIN
                   WAUEFAFLXAN048246, and
  14
            h.     Sixty-nine (69) Assorted cards with various values, found at
  15               5223 Quince Street, San Diego CA, on February 5, 2014:
  16                     Chili’s gift cards        41
                         Prepaid debit cards       25
  17                     Gift cards                 2
                         Viejas card                1; and
  18
  19        WHEREAS, on November 4, 2015, this Court accepted the guilty plea of
  20 Defendant; and
  21        WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture
  22 addendum, the United States has established the requisite nexus between the forfeited
  23 properties and the offense; and
  24        WHEREAS, by virtue of said guilty plea, the United States is now entitled to
  25 possession of the above-referenced properties, pursuant to 18 U.S.C. § 924(d),
  26 28 U.S.C. § 2461(c), 21 U.S.C. § 853 and Rule 32.2(b) of the Federal Rules of
  27 Criminal Procedure; and
  28 //
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   1         WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
   2 authority to take custody of the above-referenced properties which were found
   3 forfeitable by the Court; and
   4         WHEREAS, the United States, having submitted the Order herein to the
   5 Defendant through his attorney of record, to review, and no objections having been
   6 received;
   7         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
   8         1.    Based upon the guilty plea of the Defendant, all right, title and interest
   9 of Defendant BILLY MINH TA (8) in the following properties (a, b and h), which
  10 are currently in the possession of the San Diego Police Department, are hereby
  11 forfeited to the United States.       The Court orders that the San Diego Police
  12 Department shall dispose of these forfeited assets according to law, when no longer
  13 needed for evidence:
  14         a.    a Smith & Wesson Model 4013 semi-automatic handgun with
                   serial number VBJ3320,
  15
             b.    a Springfield Arms Model XD-40 semi-automatic handgun with
  16                serial number XD566127,
  17         h.    Sixty-nine (69) Assorted cards with various values, found at
                   5223 Quince Street, San Diego CA, on February 5, 2014:
  18
                          Chili’s gift cards       41
  19                      Prepaid debit cards      25
                          Gift cards                2
  20                      Viejas card               1
  21
  22         2.    Based upon the guilty plea of the Defendant, the United States is hereby
  23 authorized to take custody and control of the following assets, and all right, title and
  24 interest of Defendant BILLY MINH TA (8) in the following properties (c through g)
  25 are hereby forfeited to the United States for disposition in accordance with the law,
  26 subject to the provisions of 21 U.S.C. § 853(n):
  27         c.    $1,620.00 in U.S. Currency found on person of Billy Ta at time of
                   his arrest on February 5, 2014,
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   1         d.     $7,000.00 in U.S. Currency hidden under a carpet on the closet
                    floor of Billy Minh Ta’s residence located at 5223 Quince Street,
   2                San Diego CA,
   3         e.     Trijicon Model SPR-1.5 La Rue Tactical Scope, found in a rifle
                    box in the closet of Billy Minh Ta’s residence located at 5223
   4                Quince Street, San Diego CA,
   5         f.     Rifle Butt Stock found in a rifle box in the closet of Billy Minh
                    Ta’s residence located at 5223 Quince Street, San Diego CA,
   6
             g.     One Silver 2010 Audi S4, CA License 6NDH304, VIN
   7                WAUEFAFLXAN048246.
   8
   9         3.     The aforementioned forfeited assets (c through g) are to be held by the
  10 United States Customs and Border Protection in its secure custody and control.
  11         4.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
  12 to begin proceedings consistent with any statutory requirements pertaining to
  13 ancillary hearings and rights of third parties. The Court shall conduct ancillary
  14 proceedings as the Court deems appropriate only upon the receipt of timely third
  15 party petitions filed with the Court and served upon the United States. The Court
  16 may determine any petition without the need for further hearings upon the receipt of
  17 the Government’s response to any petition. The Court may enter an amended order
  18 without further notice to the parties.
  19         5.     Pursuant to the Attorney General’s authority under Section 853(n)(1) of
  20 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
  21 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
  22 the United States forthwith shall publish for thirty (30) consecutive days on the
  23 Government’s forfeiture website, www.forfeiture.gov, notice of this Order, notice of
  24 the United States’ intent to dispose of the properties in such manner as the Attorney
  25 General may direct, and notice that any person, other than the Defendant, having or
  26 claiming a legal interest in the above-listed forfeited properties must file a petition
  27 with the Court within thirty (30) days of the final publication of notice or of receipt of
  28 actual notice, whichever is earlier.
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   1         6.    This notice shall state that the petition shall be for a hearing to
   2 adjudicate the validity of the petitioner's alleged interest in the property, shall be
   3 signed by the petitioner under penalty of perjury, and shall set forth the nature and
   4 extent of the petitioner's right, title or interest in the forfeited property and any
   5 additional facts supporting the petitioner's claim and the relief sought.
   6         7.    The United States may also, to the extent practicable, provide direct
   7 written notice to any person known to have alleged an interest in the properties that
   8 are the subject of the Preliminary Order of Criminal Forfeiture, as a substitute for
   9 published notice as to those persons so notified.
  10         8.    Upon adjudication of all third-party interests, this Court will enter an
  11 Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
  12 aforementioned assets (c through g), in which all interests will be addressed.
  13         9.    Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
  14 as to the Defendant at the time of sentencing and is part of the sentence and included
  15 in the judgment.
            IT IS SO ORDERED.
  16
  17 DATE: January 4, 2016                   __________________________________
                                             HON. MICHAEL M. ANELLO
  18
                                             United States District Judge
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